         Case 1:14-cv-02302-CRK Document 133 Filed 03/20/18 Page 1 of 15

                       GODDARD                     LAW PLLC
                                39Broadway,Suitel540    NewYork,NY10006
                                            Office. 646.504.8363
                                             Fax.212.473.8705
                                          Megan@goddardlawnyc.com
                                          WWW.GODDARDLAWNYC.COM

                                                                   March 19, 2018

VIA E-MAIL TO Steve
Hon.JudgeClaire R.Kelly
U.S. Court   of International     Trade
One Federal     Plaza
New York, New York 10278-0001

        Re:    Claude
                    Lewis v. American         Sugar Refining, Inc., et. al.
                  Civil Action No,: 14-cv-02302

Dear Your     Honor:


        Theundersigned
                    is counselto PlaintiffClaude
                                               Lewis("Plaintiff")in the above-
captionedmatter. We write to further inform the Court of somebackgroundfacts relating to
today'sMotion   in Limine arguments,    andweappreciate     having beenafforded     the
opportunity to do so.

         Asdiscussed,Plaintiff's Initial Disclosures,annexedhereto as Exhibit A, state in
Sectionl.a. that Plaintiff may use the "witnesses set forth in Defendant's Initial disclosures."
Defendant'sInitial Disclosures, annexed hereto as Exhibit B, specifically set forth just five
witnesses,one of whom was Bob Jandovitz (see Section A.3). Defendants' argument that they
arebeing blindsided by Plaintiff's inclusion of Mr. Jandovitz is simply untrue, since Plaintiff
specifically
          listedthe witnessesset forth in Defendant's
                                                   Initial disclosures.The other
witnessesset forth by Defendantswere Mehandra Ramphal,Elizabeth Mendonca,Debbie
Troche and Claude Lewis.


        In a letter dated March 2, 2016(annexed hereto as Exhibit C), more than two years
ago,
   Defendants
            informallysupplemented
                                 their witnesslist, and addedfour additional
witnesses,including Adolph McBean,and gave the following proffer:

       "Mr. McBeanhasknowledge      regardingPlaintiffsjob responsibilities,
        Plaintiffs
                 job performance,
                                Plaintiffsdecisionto bidoutpursuantto the
       [CBA],Plaintiffsplacement  into the sanitationdepartment,  Plaintiffs
        knowledge  of theCBAandits grievanceprocedures, certainof Plaintiffs
        greivances,
                 Plaintiffsknowledge
                                   of ASR'sharassment
                                                   policiesand
        procedures,how MehandraRamphaltreated and interacted with the
        Plaintiff,theinteractionbetweenMehandraRamphaland otherASR
          Case 1:14-cv-02302-CRK Document 133 Filed 03/20/18 Page 2 of 15


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         employees,
                 and the interaction betweenPlaintiff and Elizabeth
         Mendonca, Debbie Troche and Bob andovitz. "

       GivenDefendant's proffer, it is irrefutable that Defendants' were VERY aware of Mr.
McBean'simportance in this litigation, and that they had more than enough information to
decidewhether or not to deposeMr. McBean.In any event,Mr. Hensleyconfirmed by email
today (attached hereto as Exhibit D) that heconsideredthat supplement to be an amendment
of Defendants'May 5, 2015 Initial Disclosures,which means that Plaintiff's position that it
may call anyone set forth in Defendant's disclosure includes Mr. McBean.

        Plaintiff submits that both Mr. Jandovitzand Mr. McBeanwere repeatedly identified
byPlaintiff, and to the extent that they were not individually specifiedit is justified by
Plaintiffs initial disclosure that it intended to rely on any witnessesset forth by Defendants
to prove its case.

         Counselremains available should Your Honor haveany questionsor concerns.Thank
70u.


                                           Respectfully submitted,
                                           GODDARDLAW PLLC

                                           By:/s/ Meo)aixqodu)tgvra
                                              Megan Goddard, Esq.

CC:Michael Hensley
   Gabrielle   Vtnci
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                        EXHIBIT     A
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UNITED       STATES     DISTRICT      COURT
SOUTHERN DISTRICT OF NEW YORK
                                                          x
CLAUDE V. LEWIS,
                                                                 Case No. 14-cv-2302
                                   Plaintiff,

         -against-



AMERICAN SUGAR REFINERY and
MEHANDRA RAMPHAL,

                                   Defendants.
                                                          x


                      PLAINT.IFF'S RUL8. 26(a)(1.).n§'I' IAI, DISCLOSURES

         Pursuantto Rule 26(a) of theFederal Rules of Civil Procedure, plaintiff ClaudeV. Lewis,

(the "Plaintiff"), by and through his undersigned attorneys Nesenoff & Miltenberg, LLP, hereby

subi'nitthe following initial disclosures.These
                                              disclosuresare basedon inforination reasonably

availableto Plaintiff asof this date.       Plaintiff
                                                   reservesthe right to supplement to amendthese

disclosures
         basedupon subsequently
                             filed and discovereddocuments
                                                         andinformationin this
case.




 .      Name,
           of Each Individual Likely To Have Discoverable Inforination That Plaintiff May
UseTo Support Their Casein the Complaint:

               The witnesses set fortli in Defendants' Initial Disclosires, including Defendants.
               Eachindividual set forth in the Plaintiff's Complaint.

2.      Dociments:  Plaintiffwill rely on docuinentsin his possessionrelating to the allegations
andaffirmative defenses, commumcations between the parties, any and all pleadings on file, and
all docui'nentsreceived or producedthrough discovery.

3.       Plaintiff's Calculations of Damages:

       Plaiiitiff's damagesare basedon back pay and front pay, as he remains employed at a
lowerrate of payai'id with less oppoitunity for overtime since he was retaiiatedagainst, as well

becameunable to suppoit himself.



                                                    [1]
                                                                                            ,i
                                                                                             x
                                                                                                  PUIF=,InFF"S
                                                                                                         "'   m




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                                                                                                ulll*
                                                                                                 aa   ' ' -
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                        EXHIBIT     B
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                                                                I 15                  -       m

IN THF, TJNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK



CLAUDE V. LEWIS,                              Civil Action No. 1 :14-cv-02302-TPG


                     Plaintiff,               (ECF Case)

       -against-

                                                      DEFENDANTS' RULE 26(a)(1)
AMERICAN SUGAR REFINING5 INC,                                 DISCLOSURES
andA4EHANDRA RAMPHAL,

                     Defendants.




       Defendants  Atnerican
                        Sugar
                            Refining,
                                 I[nc.
                                    ("ASR)
                                        andMehandra
                                               Ramphal
(Ramphal) herebyprovidetheir Initial Disclosurespursuantto Fed.R. Civ. P. 26(a)(l).

                                       Reservations



       1.   Defendants
                 reserveall objectionsto the productionof any documentsor other

informationon any ground,including relevanceand undueburden,and all applicableprivileges,

includingthe attorney-clientprivilege,the work productdoctrine,the cornmoninterestdoctrine,

andany other applicable privilege or protection.These
                                                    disclosuresare made without waiver or

adrnission
       of anykind,including
                          prejudice
                                 to or waiverof anyprivileges
                                                           or objections
Defendants
         haveor may havewith respectto any requestsfor discovery.


       2.   Defendants
                 make this disclosure of witnesses,documentsand/or information in

goodfaith andbasedupon theinfomiationnow availableto it. Defendants
                                                                reservethe right to

supplementthis response,if necessary,
                                   to the extent it becomesaware of additionalrelevant non-

privileged
        information
                 duringthecourse
                               of discovery
                                         andongoing
                                                  investigation.
                                                             These
tesponses
        should be deemedarnendedand supplemented
                                               to includeall admissiblenon-privileged
           Case 1:14-cv-02302-CRK Document 133 Filed 03/20/18 Page 7 of 15




evidence          answers
      in Defendants'   to writtendiscoveryas well as all admissible
                                                                  deposition

testimonyanddocumentsproducedhereafterby the partiesandany non-partywitnesses.


A.   Persons
         Likely to Have Discoverable Information

           Thefollowing individuals are likely to have discoverableinforrnation that Defendants

mayuseto supporttheir claimsand defenses:

           (1 )Mehandra Ramphal

Mr.  Ramphal
         hasknowledge
                 regarding
                      Plaintiffs
                            jobresponsibilities,
                                       Plaintiff's
                                               job
performance,
          his decisionto bid out pursuantto the CollectiveBargainingAgreement("CBA"),
andASR's harassment andemployrnentpoliciesand procedures.   Pursuant to R.P.C.4.2, any
attemptto contactMr. Ratnphal must be through Defendants'counsel.


           (2) Elizabeth Mendonca

Ms.Mendonca   hasknowledge     regarding Plaintiffs job responsibilities,
                                                                        Plaintiff's
                                                                                job
perforrnance,
           his decisionto bid out pursuantto theCollectiveBargainingAgreement(CBA"),
ASR'sharassment
            andemployment
                       policiesandprocedures,
                                          andPlaintiffsfailureto ever
complainof discrimination.Pursuant
                                to R.P.C.4.2, any attemptto contactMs. Mendoncamust
bethrough Defendants'counsel.


           (3) Bob Jandovitz

Mr.Jandovitzhasknowledge  regardingPlaintiffs job performance,ASR's harassment  and
employmentpoliciesandprocedures,
                               andPlaintiffs failureto ever complainof discrimination.
Pursuant
       to R.P.C.4.2, any attemptto contactMr. Jandovitzmustbe throughDefendants'
counsel.



           (4) Debbie Troche

Ms.Troche
        hasknowledge
                   regarding
                           Plaintiff'sjob perforrnance,
                                                    ASR'sharassment
                                                                 and
employmentpoliciesand procedures,and Plaintiff's failure to ever complainof discrimmation.
Pursuantto R.P.C.4.2, any attempt to contact Ms. Troche must be through Defendants'counsel.




                                                2
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       (5)ClaudeLewis

Mr.Lewis has knowledgeregardinghis job responsibilities,Ms job performance,his decisionto
bidout pursuantto the CollechveBargaimng
                                       Agreement
                                              ("CBA"), ASR'sharassment
                                                                    and
employmentpoliciesandprocedures,
                               and his failure to ever complainof discrimmation.


B.      Documents:

       Thefollowing documents
                            andcategories
                                        of documents
                                                  in Defendants'
                                                              possession
                                                                       maybe

usedto support Defendants'claims or defenses:

       (1) Plaintiff' spersonnelfile;

       (2) CBA;

       (3) Defendant ASR's harassmentandemploymentpoliciesand procedures,

       (4) Payroll recordsfor Plainti'ff; and

       (5) Incident reportsfor Plaintiff's variousfailuresto perform.



C.   Computation
           of Damages:

       Defendantsdeny Plaintiff isentitledto any darnages.



D.   Insurance
           Aggement:

       Not appicable.



E.   Identity
           of Experts:

       Defendantshavenot yet determinedwhethertheywill retain an expertto testify at trial in

thismatter,but reservethe right to do so at a later time in accordancewith the FederalRules of

Civil Procedureand the Court's SchedulingOrder.




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      Defendants'
               Initial Disclosuresare madewithout prejudiceto their right to changeor

supplement
         their responses,their right to assertprivileges or objectionswith respectto any

subsequent
        requestsfor discovery,and their right to introduceat trial additionalevidenceand

documentsas warrantedby the developmentof thefacts underlying this litigation.

                                              BRESSLER, AMERY & ROSS, p.c.


                                              By:   /s Michael T. Hensley
                                                     Michael T. Hensley
                                                     Attorneysfor Defendants
                                                     17 State Steet
                                                     New York, New York 10004
Dated:May 5, 2015                                    (T) (212) 425-9300
New York, New York                                   (F) (212) 425-9337
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                         EXHIBIT    C
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                              BRESSLER,AMERY&ROSS
                                                 APROFESSIONAL
                                                            CORPORATION


                                           p.o. Box 1980   Morristown,
                                                                  Nl 07962
                                                        HandDelivery:
                                325ColumbiaTurnpike    Suite  3oi Florhan'iPark,Nl 07932
                                                            faxg73.5i4.i66o
                                                 973.514.1200
                                                       yvwyi,bressler.com


MichaelT. Hensley                                                                          Direct:   973-660-4473
Principal                                                                                  mhensley@bressler.com



                                                                    March 2, 2016


VIA E-MAIL & U.S. MAIL
MeganS.Goddard,Esq.
Nesenoff& Miltenberg,LLP
363SeventhAvenue,Fifth Floor
New York, New York 10001

              Re:   Claude
                         Lewis v. American              Sugar Refining, Inc., et al
                      Civil Action   No. 1:14-cv-02302-TPG

Dear Ms. Goddard:

              Asyouareaware,
                          thisofficereptesents
                                           Defendants
                                                  American
                                                         SugarRefining,
                                                                     Inc.and
Mehandra
       Ramphalin the above matter.                     Please
                                                           acceptthis letter in lieu of       a more formal
supplemental
       answer             #1. In addition
             to Interrogatory           to Mehandra
                                                 Ramphal,
                                                      Elizabeth
Mendonca,Bob Jandovitz, Debbie Troche and Claude Lewis, who are named in Defendants'
originalanswersto interrogatories,pleasebe advisedthat Defendants
                                                                supplementtheir prior
answerto also include the following:

            (6)      Adolph McBean
                     c/oBressler,Amery & Ross
                     17 State Street
                     New Yotk, New York 10004

Mr.  McBean
        has
          knowledge
               regarding
                    Plaintiff's
                          jobresponsibilities,
                                     Plaintiff's
                                             job
performance,  Plaintiffs decisionto bid out pursuantto the CollechveBargmningAgreement
("CBA), Plaintiff's placementinto the SanitationDepartment,     Plaintiff's knowledgeof the
CBAand its grievanceprocedures,     certain of Plaintiffs grievances,
                                                                    Plaintiffs knowledgeof
ASR'sharassmentpolic'iesand procedures,how MehandraRarnphaltreatedand interactedwith
thePlaintiff, the interachonbetweenMehandraRamphaland other ASR employees,and the
interactionbetweenPlau'itiff andElizabeth Mendonca,Debbie Trocheand Bob Jandovitz.




3061079   1
                                     Newlersey       New York         Florida   Alabama
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                                   BRESSLER,AMERY.hROSS


 March 2, 2016
 Page2




           (7)   Ray Grossi
                 c/oBressler,Amery & Ross
                 17 State Street
                 New York, New York 10004

Mr.GrossihasknowledgeregardingPlaintiff'sjob responsibilities,   Plairitiff'sjob performance,
Plaintiff'sknowledge of theCBA andits grievance    procedures,
                                                             certmnof Plauitiff'sgrievances,
Plaintiff'sknowledge of ASR'sharassment      policiesandprocedures,how Mehandra     Ramphal
treatedand interactedwith the Plaintiff, the interactionbetweenMehandraRmnphaland other
ASR employees,and the interactton between Plmntiff andElizabeth Mendonca,Debbie Troche
and Bob Jandovitz.

           (8)   BobsieMomoe
                 c/oBressler,Amery & Ross,p.c.
                 17 State Street
                 New York, New York 10004

Mr.Momoehasknowledge       regardingPlaintiffs jobresponsibilities,
                                                                 Plaintiff'sjob performance,
Plaintiff'sknowledgeof theCBA and its grievanceprocedures,   certainof Plaintiff'sgrievances,
Plaintiff'sknowledgeof ASR'sharassment       policiesand procedures,
                                                                   how MehandraRamphal
treatedand interactedwith the Plaintiff, the interactionbetweenMehandraRatnphaland other
ASRemployees,and the interactionbetweenPlaintiff andElizabeth,Mendonca,Debb'ieTroche
and Bob Jandovitz.

           (9)   Sean Norwood
                 c/oBressler,Amery & Ross,p.c.
                 17 State Street
                 New York, New York 10004

Mr.Norwood
        hasknowledge
                 regarding
                       Plaintiff's
                              jobresponsibilities,
                                          Plaintiffs
                                                   job
performance,
        Plaintiff's
                  knowledge
                         of theCBAandits gnevance
                                               procedures,
                                                       certainof
Plaintiffsgrievances,
                   Plaintiff'sknowledgeof ASR'sharassment
                                                       policiesandprocedures,
                                                                           how
MehandraRamphaltreatedand interacted with the Plaintiff, the mteraction betweenMehandra
Ramphal
    andotherASRemployees,
                      andtheinteraction
                                     between
                                          Plaitiff andElizabeth
Mendonca,Debbie Troche and Bob Jandovitz.




3061079J
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                             BRESSLER,AMERY.hROSS


March 2, 2016
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        Inaddition,
                 by wayof supplemental
                                  answer
                                       to Interrogatory
                                                     #3,Defendants
                                                                refer
Plaintiff totheir m'iswerandsupplementalanswerto Interrogatory#l

      If you do not notify this office in the next seven(7) days,we wiu assumethat you will
acceptthis letter in lieu of a moreformal arnendmentto Defendant'sanswersto interrogatories.
Pleasebe guided accordingly

                                                 Very



                                                          . Hens


MTH/bjt




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                        EXHIBIT     D
                  Case 1:14-cv-02302-CRK Document 133 Filed 03/20/18 Page 15 of 15


MeganGoddard
From:                               MichaelT. Hensley<MHensley@bressler.com>
Sent:                               Monday,March 19, 2018 5:30 PM
To:                                 MeganGoddard
Cc:                                 LaurenFenton-Valdivia;NathanielK. Charny;GabrielleVinci
Subject:                            Re:Lewis



Wedid.By answers
              toroggs, justIikeyou,

Sent from my iPhone

OnMar 19, 2018, at 5:25 PM, Megan Goddard <mzoddard@nmllplaw.com> wrote:

        Lauren,


        Please
             confirmthat youneveramendedyour May 5,2015initial disclosures.
                                                                         Thank you.

        Me4ou-S. Ctol-
        GODDARDLAW PLLC
        <imageO03.png>
        39Broadway, Suite 1540
        New York, New York 10006
        Office. 646.504.8363
        Cell. 504-909-0792
        Fax. 212.473.8705
        Megan@goddardlawnyc.com
        www.zoddardlawnyc.com



        Thise-mail and any files transmitted with it are confidential and are intended solely for the use of the
        individual
                or entitytowhomtheyareaddressed.
                                              This communicahon
                                                             maycontain
                                                                      material
                                                                            protected
                                                                                    by
        theattorney-clientprivilege.If youare not the intendedrecipient or the person responsible for delivering
        thee-mail to the intendedrecipient,be advisedthat you have received this e-mail in error and that any
        use,dissemination, forwarding, printing, or copying of this e-mail is strictly prohibited. lf you have
        receivedthis e-mail in error, please immediately notify the sender at Meqar%a)Goddardlawnyc.comor at
        646-504-8363.




        MeganGoddard, Esq.
        363 Seventli Avenue, 5th Floor
        New York, NY 10001-3904
        212.736.4500           212.736.2260    fax

        Vcard           nmllplaw.com

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